Case 8:06-cr-00464-MSS-TGW Document 749 Filed 05/21/15 Page 1 of 2 PageID 4835




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 UNITED STATES OF AMERICA

 v.                                                           CASE NO: 8:06-cr-464-T-17TGW

 CHANCEY DEON COOPER
 ______________________________/


      Order Granting Defendant’s Unopposed Motion for Prison-Term Reduction Under 18
                       U.S.C. § 3582(c)(2) Based on USSG Amend. 782

          Before the Court is the defendant’s motions to reduce his prison term under 18 U.S.C. §

 3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG §1B1.10(d)

 (2014). Docs.# 735 and 748. The United States does not oppose a reduction. Doc. #748. The parties

 stipulate that he is eligible for a reduction because Amendment 782 reduces the guideline range

 applicable to him, see USSG §1B1.10(a)(1). Doc. #748. The Court agrees that he is eligible for a

 reduction and adopts the amended guideline calculations in the parties’ stipulation. Doc. #748.

          Having reviewed the facts in both the original presentence investigation report and the

 February 12, 2015 memorandum from the United States Probation Office in light of the factors in

 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by a

 reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 15 months

 is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties of a

 possible release date on Sunday, November 1, 2015, the effective date of this order is November 2,

 2015.
Case 8:06-cr-00464-MSS-TGW Document 749 Filed 05/21/15 Page 2 of 2 PageID 4836




        Thus:

        (1)     The Court grants the defendant’s motion, Doc. #748.

        (2)     The Court reduces the defendant’s prison term from 71 to 56 months or time

                served, whichever is greater.

        (3)     The effective date of this order is November 2, 2015.

        DONE and ORDERED in Chambers, Tampa, Florida on May 21, 2015.




 Copies furnished to:
